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My Best Friend Robert Geiswien is one of the most Honorable, Compassionate men I
have ever met in my life. His sense of morality and wisdom is always a shining light
whenever he's around, never ceasing to light up a room or a conversation.

There are countless things Robert has done to help me, his friends, his family, his pets
and his community. Caring deeply about people is one of his strongest attributes and an
absolute blessing to have in a friend. From helping me with my depression and suicidal
thoughts after returning home from serving in the Army, to saving a malnourished Husky
from a puppy mill, Roberts unwaivering commitment to his moral code always
impresses me. I look at him as an excellent example of a good man and someone who
always puts others first.

I truly believe Robert is the most loving person I've ever had the privilege to meet. If I
ever have children, he will be my first choice as their Godfather which is a position I
don't hand out lightly. He's great with kids and I've always admired that about him. Even
going out to restaurants or stores he almost always strikes up a friendly conversation
with random people he meets making new acquaintances all the time. I feel so honored
to be one of his friends and hope more people will realize what a great guy he truly is.

In the end, Robert's character is one of great love and selflessness which has made a
deep impact on many lives. I can't imagine where I'd be right now if I had never met him
back in Highschool and I thank God all the time for bringing my Best Friend Robert
Geiswien into my life.

                   Kind Regards,
                   Benjamin Rockel
